Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 1 of 9 PAGEID #: 206




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION - DAYTON

 OLWIN METAL FABRICATION LLC,                  :
                                               :   CASE NO: 3:22-CV-00100-MJN-CHG
        Plaintiff,                             :
                                               :   JUDGE MICHAEL J. NEWMAN
 vs.                                           :
                                               :   MAGISTRATE CAROLINE H. GENTRY
 MULTI-CAM, INC., et al.,                      :
                                               :
        Defendants.                            :


                  PLAINTIFF’S MEMORANDUM IN OPPOSITION
             TO DEFENDANT MULTICAM, INC.’S MOTION TO DISMISS


       Plaintiff Olwin Metal Fabrication LLC (“Plaintiff”), by and through counsel, hereby

opposes Defendant MultiCam, Inc.’s (“Defendant”) Motion to Dismiss Plaintiff’s First Amended

Complaint and Memorandum in Support (“Motion”).

I.     PROCEDURAL HISTORY / STATEMENT OF FACTS
       Plaintiff filed its initial Complaint in the Court of Common Pleas of Montgomery County,

Ohio, captioned Olwin Metal Fabrication LLC v. Multi-Cam, et al., Case No. 2022 CV 1134, on

or about March 15, 2022 (“Complaint”). In its Complaint, Plaintiff alleged breach of contract,

non-acceptance and revocation of acceptance under Texas law, and unjust enrichment. On April

14, 2022, Defendant successfully removed this case before this honorable Court. See Notice of

Removal, ECF No. 1. Subsequently, on April 19, 2022, Plaintiff amended its Complaint to include

a claim for fraud. See First Amended Complaint, ECF No. 4 (“Amended Complaint”). Defendant

has now filed its Motion to Dismiss Plaintiff’s First Amended Complaint. See Motion, ECF No.

9.
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 2 of 9 PAGEID #: 207




          Plaintiff began conversations with Defendant on or about November 12, 2021 for the

purchase of the ARCOS Series Plasma Machine (the “Machine”). See Amended Complaint at

Page ID 146, ¶ 6. After specific assurances from the Defendant, Plaintiff decided to purchase said

Machine. Id. at ¶ 8. Subsequently, after payment and installation, the Machine was not working

as promised. Id. at ¶¶ 8-13. After attempts to work with Defendant to fix the Machine failed, this

litigation ensued.

II.       ARGUMENT

          a. Plaintiff’s fraud claim meets the particularity standard under Rule 9(b).

          Rule 9(b) requires a party alleging fraud or mistake to state “with particularity” the

circumstances constituting the fraud or mistake. Malice, intent, knowledge, and other conditions

of a person’s mind may be alleged generally. See Fed. R. 9(b). In its Amended Complaint,

Plaintiff satisfies this requirement by identifying the “’who, what, when, where, and how’ of the

alleged fraud.” See Sanderson v. HCA-The Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006)

(quoting U.S. ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 903 (5th Cir.

1997)).     Plaintiff has not only alleged specific dates, specific representations and specific

individuals, but it also generally alleged the intent as well as described the resulting damages.

          Defendant spends a great deal of time discussing the need to differentiate MultiCam, Inc.

from MultiCam Great Lakes, but even MultiCam does not make that distinction. Through its own

website and agreements, MultiCam refers to itself as “MultiCam Complete CNC Solutions,” which

includes the “corporate office” as well as the “over 50 technology centers across the globe” and

“sales and service representatives in over 100 countries.” See Amended Complaint, ECF. No. 4

at Page ID 160. In addition, throughout its own agreements, Defendant refers to itself generally




                                                  2
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 3 of 9 PAGEID #: 208




as MultiCam. Id. at Page ID 159-184 (ARCOS Bridge & Rail Plasma Agreement (“Agreement”)).

The confusion, then, is not with the Amended Complaint, as alleged in Defendant’s Motion, but

in the Defendant’s own marketing materials. MultiCam Complete CNC Solutions is a company

encompassing, as it boasts, a corporate office along with many technology centers and service

representatives throughout the world, including MultiCam Great Lakes. Id. Differentiating them

in the Complaint for purposes of particularity is not required because they are, and were, acting as

one entity as it relates to the purchase of the Machine. The Amended Complaint even alleges that

both companies are in the same business of “manufacturing cutting machines.” Id. at Page ID 146,

¶¶ 2-3.

          Furthermore, Defendant’s attempts to compare the “group pleading” in the Bledsoe

decision are misguided. As an initial matter, the Bledsoe decision concerns a complaint filed under

the False Claims Act, which has specific requirements of its own. See U.S. ex rel. Bledsoe v. Cmty.

Health Sys., Inc., 501 F.3d 493 (6th Cir. 2007). Moreover, the Agreement itself shows that

MultiCam, Inc. and MultiCam Great Lakes, Inc. were working as one. See Amended Complaint,

ECF No. 4 at Page ID 161 (MultiCam assigned specific technology centers to Plaintiff for

demonstration, training, installation and service). These technology centers all come under the

umbrella of what is consistently described as “MultiCam Complete CNC Solutions,” what appears

to be a full-service company including manufacturing, service and installation. Id. at Page ID 159-

184.

          As to its claim for fraud, Plaintiff made very specific allegations. First, Plaintiff alleged

that it was given specific assurances concerning the purchase of the Machine from Brian

Newhouse, a “MultiCam Complete CNC Solutions” employee, as evidenced by his signature




                                                    3
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 4 of 9 PAGEID #: 209




block. See Amended Complaint, ECF No. 4 at Page ID 146, ¶¶ 7, 158. As a result of those

assurances, Plaintiff agreed to, and did, purchase the Machine on November 18, 2021, depositing

50% of the purchase price, totaling $111,652.00. Id. at Page ID 147, ¶ 8. Plaintiff later deposited

the remaining purchase price on December 16, 2021 for a total of $223,304.00. Id. at Page ID

147, ¶ 10.     Ultimately, Plaintiff relied on the representations from Defendant, through its

employees and/or agents, to purchase a machine that does not perform as promised. Id. at Page

ID 149, ¶¶ 27-31. These facts are sufficient to satisfy the particularity standard under Rule 9(b).

       b. Plaintiff alleges the basic elements of a breach of contract claim.

       Defendant correctly points out that this Court has previously discussed the evaluation of

breach of contract claims at the motion to dismiss stage, writing:

       [I]t is not merely enough for a non-moving party to allege that a contract was
       breached. Rather, the complaint or counterclaim must provide ‘further explanation,
       including the relevant terms of the . . . agreement, how the agreement was breached,
       and how the breach harmed the [non-moving party].
Doe v. BMG Sports, LLC, No. 1:20-CV-688, 2022 WL 345178, at *11 (S.D. Ohio Feb. 4, 2022)

(quoting Derbabian v. Bank of Am., N.A., 587 F. App’x 949, 954 (6th Cir. 2014)).

       However, the decision to grant the motion to dismiss in the Doe decision was due to the

plaintiff’s failure to put the defendant on notice because they failed to either attach the alleged

contract or quote any of its terms. Id. (“In this case, Doe has not pointed to any specific language

in the purported contract between himself and the School District, and that failure is fatal to his

breach of contract claim.”) “To survive a motion to dismiss, in other words, Plaintiffs must make

sufficient factual allegations that, taken as true, raise the likelihood of a legal claim that is more

than possible, but indeed plausible.” Id. (citing Darby v. Childvine, Inc., 964 F.3d 440, 444 (6th

Cir. 2020)).



                                                  4
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 5 of 9 PAGEID #: 210




       Plaintiff has done significantly more than the plaintiff in the Doe decision. And, by alleging

that the Complaint does not satisfy the Federal Rules’ pleading requirements, it is clear that

Defendant did not read the Amended Complaint in its entirety. Defendant suggests that “Olwin

only alleged ‘[t]he foregoing actions and/or inactions of Defendants constitute material breaches

of the Agreement.’” See Motion, ECF No. 9 at Page ID 200. However, this is simply not the case.

       Relevant Terms of the Agreement

       Plaintiff specifically refers to the full Agreement executed by both parties and even goes

on to state the specific language at issue. See Amended Complaint, ECF No. 4 at Page ID 147, ¶

9.   Specifically, the Agreement contained an express warranty guaranteeing the purchased

Machine would be “fully functional and operating properly” at the time of installation. Id.

Moreover, the Plaintiff attached that very Agreement as an exhibit to its Amended Complaint. Id.

at Page ID 159-184. Therefore, there is no plausible argument that Defendant did not have notice

of the terms with which Plaintiff alleged it has breached.

       How the Agreement was Breached

       Plaintiff’s allegations of the breach itself are also contained in the Complaint. See

Amended Complaint at Page ID 147, ¶ 13. As it relates to the specific breach, the Complaint

alleges as follow:

       From the date of installation until present, the Machine has not worked as promised.
       Problems include, but are not limited to, the following: the 5-axis feature does not
       work properly when attempting to bevel; the Machine will not part mark with the
       Hyperterm XPR as it should (without modification of G-code); and the Machine
       will not pre-pierce (without modification of G-code).




                                                 5
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 6 of 9 PAGEID #: 211




       Id. These are very specific allegations concerning the various breaches of the express

warranty contained in the Agreement which, again, guaranteed a fully functional and operational

machine.

       How the Breach Harmed the Non-Moving Party

       The breach, as described above, has harmed the Plaintiff. The specifics of that harm are

contained in the Amended Complaint as well. See Amended Complaint at Page ID 147-18, ¶ 16.

As explained therein, not only is the Plaintiff out the cost of the Machine, to the tune of over

$200,000, but they also alleged damages due to lost time, lost materials, lost profits, loss of

business and incidentals, plus attorneys’ fees incurred and to be incurred in connection with

prosecuting this claim. Id.

       Finally, the Doe Court held, “…[t]he Court must “construe the complaint [or counterclaim]

in the light most favorable to the plaintiff [or counterclaimant], accept its allegations as true, and

draw all reasonable inferences in favor of the plaintiff [or counterclaimant].” Doe v. BMG Sports,

LLC (citing Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008)). Not

only has Plaintiff alleged the basic elements of a breach of contract claim, but its Amended

Complaint must be construed in its favor.

       c. Unjust enrichment is permitted should the Court find there is no valid contract.

       Plaintiff recognizes that its claim for unjust enrichment is only available to it in the event

the Court finds that the above referenced contract is invalid. And while the Plaintiff is confident

in the validity of the Agreement, a claim for unjust enrichment is appropriate if this Court finds

otherwise. Furthermore, despite Defendant’s efforts to suggest that Plaintiff has failed to allege

all elements of a claim for unjust enrichment, Plaintiff would respectfully disagree.




                                                  6
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 7 of 9 PAGEID #: 212




       In order to state a claim for unjust enrichment, Defendant correctly points to the required

elements, namely: (1) [i]t conferred a benefit on [defendant]; (2) [defendant] had knowledge of the

benefit; and (3) the [defendant] retained the benefit under circumstances where it would be unjust

to do so without payment. See Jones v. Ohio Nat’l Life Ins. Co., No. 1:20-CV-654, 2022 WL

1128596, at *11 (S.D. Ohio Apr. 15, 2022).

       Again, Plaintiff has alleged all elements required to set forth a claim for unjust enrichment,

in the event the Agreement is deemed invalid. More specifically Plaintiff has alleged that on

November 18, 2021 and December 16, 2021, Plaintiff paid Defendant a total of $223,304.00 for

the purchase of the Machine, thereby conferring a benefit upon Defendant.              See Amended

Complaint, ECF No. 4 at Page ID 147, ¶¶ 8, 10. As a result, Defendant delivered the Machine to

Plaintiff’s place of business in Montgomery County, Ohio, thereby acknowledging receipt of the

benefit, e.g. the purchase price. Id. at ¶ 11. Plaintiff has also alleged that the Machine did not

work as promised, by specifically detailing the issues with the Machine, from the date of

installation through present. Id. at ¶ 13. Plaintiff further alleged that Defendant failed to address

the concerns regarding the Machine’s failings. Id. at ¶ 14. Finally, the Plaintiff specifically alleged

why it would be unjust for Defendant to retain the benefit. Id. at ¶ 33. (“Defendants have been

unjustly enriched to the detriment of the Plaintiff, by failing to provide a machine that was fully

functional and operating correctly at the time of installation, while retaining the full purchase price

of the Machine.”)

       d. Non-acceptance and revocation, under Texas law
       According to Texas law, a buyer who rightfully rejects the goods or justifiably revokes

his acceptance may recover breach of contract remedies for delivery of non-conforming goods




                                                  7
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 8 of 9 PAGEID #: 213




under section 2.711. See Emerson Elec. Co. v. Am. Permanent Ware Co., 201 S.W.3d 301, 310

(Tex. App. – Dallas 2006, no pet.). That Court went on to state that, “In other words, for

[plaintiff] to recover on its breach of contract claim, [plaintiff] had to prove that it either rejected

or revoked acceptance of the elements. Id. In its Amended Complaint, Plaintiff alleged: (1) that

it did not accept the Machine, due to its deficiencies at the time of installation (under Tex. Bus. &

Com. Code Sec. 2.606); and (2) alternatively alleged that Plaintiff had revoked its acceptance of

the Machine based on its non-conformity, which substantially impaired its value to Plaintiff (under

Tex. Bus. & Com. Code Sec. 2.608). See Amended Complaint, ECF No. 4 at Page ID 149, ¶¶ 20-

26. These allegations further support Plaintiff’s breach of contract claim, which is sufficiently

alleged in the Amended Complaint, as outlined more fully above.

III.    CONCLUSION
        As demonstrated above, Plaintiff has alleged ample facts to support each and every one of

its claims and, accordingly, Plaintiff respectfully requests this Court deny Defendant MultiCam,

Inc.’s Motion to Dismiss Plaintiff’s First Amended Complaint and Memorandum in Support.

                                                Respectfully submitted,

                                                s/Richard L. Carr, Jr.
                                                Richard L. Carr, Jr. (0003180)
                                                David M. Rickert (0010483)
                                                AUMAN, MAHAN & FURRY
                                                110 North Main Street, Suite 1000
                                                Dayton, OH 45402-1738
                                                (937) 223-6003 / ext. 3113
                                                (937) 223-8550 (fax)
                                                rlc@amfdayton.com; dmr@amfdayton.com
                                                Attorney for Plaintiff, Olwin Metal Fabrication,
                                                LLC




                                                   8
Case: 3:22-cv-00100-MJN-CHG Doc #: 10 Filed: 06/22/22 Page: 9 of 9 PAGEID #: 214




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2022, I electronically filed the foregoing with the Clerk of
the Court by using the ECF system which will send a notice of electronic filing to the following:

       Kelly E. Mulrane
       Benesch, Friedlander,
       Coplan & Aronoff LLP
       41 S. High Street, Suite 2600
       Columbus, Ohio 43215
       kmulrane@beneschlaw.com
       Attorney for Defendant, MultiCam, Inc.

        I also certify that on the same date, a courtesy copy was emailed to the following non-ECF
registered counsel:

       Peter Loh
       Foley & Lardner LLP
       2021 McKinney Ave., Suite 1600
       Dallas, Texas 75201
       ploh@foley.com
       Co-Counsel for Defendant, MultiCam, Inc.

       John P. Susany
       JSusany@stark-knoll.com
       Counsel for Defendant, MultiCam Great Lakes, Inc.


                                              s/Richard L. Carr
                                              Richard L. Carr, Jr. (0003180)




                                                 9
